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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                EL DORADO DIVISION

VIRGINIA BROCK as Administratrix
of the Estate of CYNTHIA RENEE
BROCK (Deceased)                                                                    PLAINTIFF


v.                                  Case No. 1:17-cv-1008


MIKE MCGOUGH, et al.                                                            DEFENDANTS

                                         JUDGMENT

       Before the Court is Defendants’ Motion for Summary Judgment. (ECF No. 25). Plaintiff

Virginia Brock filed a response. (ECF No. 30). Defendants filed a reply. (ECF No. 32). The

parties filed supplemental briefs. (ECF Nos. 38, 41). The Court finds the matter ripe for

consideration.

       For the reasons discussed in the Court’s Memorandum Opinion of even date, the Court

finds that Defendants’ Motion for Summary Judgment (ECF No. 25) should be and hereby is

GRANTED as to Plaintiff’s federal claims.        Plaintiff’s official capacity claims against all

Defendants are hereby DISMISSED WITH PREJDUICE. Plaintiff’s individual capacity claims

against all Defendants relating to 42 U.S.C. 1983 and the ADA are also DISMISSED WITH

PREJUDICE. To the extent that Plaintiff asserts her failure-to-train claim against all Defendants

pursuant to 42 U.S.C. 1983, that claim is DISMISSED WITH PREJUDICE as well. The Court

declines to exercise supplemental jurisdiction over Plaintiff’s remaining state claims, and those

claims are DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED, this 27th day of September, 2018.

                                                           /s/ Susan O. Hickey
                                                           Susan O. Hickey
                                                           United States District Judge
